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                        IN THE UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT


         AMERICAN FEDERATION OF STATE,
         COUNTY AND MUNICIPAL
         EMPLOYEES, AFLCIO, et al.,

                    Plaintiffs-Appellees,
                                                                   No. 25-1291
                                v.

         SOCIAL SECURITY ADMINISTRATION,
         et al.,

                    Defendants-Appellants.


           REPLY IN SUPPORT OF MOTION FOR STAY PENDING APPEAL

              The government defendants filed this motion seeking a stay of the

        district court’s March 20, 2025, order, which enjoins SSA employees who

        are members of the DOGE team from accessing the agency’s information

        systems. Without access to the SSA’s information systems, the SSA DOGE

        team cannot carry on their critical work to implement “the President’s 18-

        month DOGE agenda” “to improve the quality and efficiency of

        government-wide software, network infrastructure, and information

        technology (IT) systems.” Exec. Order No. 14,158, §§ 3(b), 4(a), 90 Fed. Reg.

        8441, 8441 (Jan. 29, 2025). As demonstrated in the defendants’ motion, the
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        March 20 order is without legal basis and has the practical effect of an

        injunction, which is immediately appealable.

              In their response, plaintiffs contend that the March 20 order is not

        appealable because, according to them, the order “simply preserves the

        status quo.” Response at 9. But plaintiffs are incorrect. In fact, the March

        20 order significantly disrupts the status quo by revoking the SSA DOGE

        team’s access to SSA information systems, requiring the SSA DOGE team

        to delete information previously obtained from SSA systems, and

        preventing them from performing time-sensitive and critical work under

        the President’s Executive Order. Because the district court’s March 20

        order has the practical effect of an injunction, it is appealable as such.

              In addition, a stay is warranted because the defendants are likely to

        prevail on the merits and will otherwise suffer irreparable harm, while

        plaintiffs cannot show irreparable harm from particular SSA employees

        having access to their information. As the government noted in its motion

        and plaintiffs do not dispute, the court’s order in this case adopts, in

        relevant part, the reasoning from an order issued by another court in its

        District in a related case. The government has appealed the preliminary

        injunction issued by the court in that case and seeks a stay pending appeal.
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        See American Federation of Teachers v. Bessent, No. 25-1282. All the reasons

        why a stay should be granted in that case apply with equal force here.

        Accordingly, this Court should stay the district court’s March 20 order

        pending appeal.

        I.    The District Court’s Order Is Appealable

              Plaintiffs concede that the label given an order does not control its

        appealability as an injunction under 28 U.S.C. § 1292(a)(1). Response at 8.

        See United States ex rel. Lutz v. United States, 853 F.3d 131, 139 (4th Cir. 2017)

        (“To determine whether an order amounts to an injunction, we first look at

        the practical effect of the order rather than the label ascribed to it.”). As

        this Court has instructed, an order having the practical effect of an

        injunction may be appealed, regardless of its label, if it “may have a

        serious, perhaps irreparable consequence” and “can only be effectually

        challenged through immediate appeal.” Id.

              The district court’s March 20 order satisfies these criteria for the

        reasons set forth in the defendants’ motion (at 7-9). Plaintiffs respond that

        the order “simply preserves the status quo” pending further proceedings in

        the district court. Response at 9. But, unlike a typical restraining order

        aimed at preserving the status quo, the March 20 order in this case
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        affirmatively revokes access to SSA systems that had previously been

        granted to SSA DOGE team members, requires them to delete information

        previously obtained from SSA systems and to remove any software

        previously installed on SSA systems, and precludes them from installing

        any software on SSA systems. The order thus halts the critical work that

        the SSA DOGE team members had been performing to implement the

        President’s Executive Order, which includes modernizing the SSA’s

        software and information systems to increase efficiency, productivity, and

        data integrity. See Exec. Order No. 14,158, § 4.

              Moreover, the SSA’s Acting Commissioner has affirmed that “the

        SSA DOGE team is focusing on key efforts that would adversely impact the

        agency and public if not timely pursued,” including several important

        initiatives to identify and correct fraud, waste, and abuse in SSA programs.

        Dkt. 60-1 (¶ 6). He has further explained that “every day that SSA must

        stop work on [these] key projects risks increased and continued fraud,

        waste, or abuse in government programs that could have been addressed.”

        Id. (¶ 7). Absent immediate appeal of the district court’s order, “the

        President’s 18-month DOGE agenda,” see Exec. Order No. 14,158, §§ 3(b),

        will be delayed not just days, but weeks, or perhaps longer. Therefore, the
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        district court’s March 20 order “may have a serious, perhaps irreparable

        consequence” and “can only be effectually challenged through immediate

        appeal.” Lutz, 853 F.3d at 139.

        II.   A Stay of the District Court’s Order Is Warranted

              The defendants’ motion further demonstrates that a stay is

        warranted. In their response, plaintiffs first challenge the defendants’

        motion on procedural grounds. See Response at 12-13. As they

        acknowledge, id. at 6, however, the defendants “move[d] first in the district

        court” for a stay of the district court’s order pending appeal, in accordance

        with Federal Rule of Appellate Procedure 8(a)(1)(A). Plaintiffs cannot

        point to any procedural deficiency here.

              A.    The Government Is Likely to Succeed on the Merits

              The government is also likely to succeed on the merits because

        plaintiffs have failed to establish an injury-in-fact for Article III standing

        purposes, have failed to identify final agency action that is subject to APA

        review, and have failed to show any violation of the Privacy Act. In their

        response, plaintiffs barely respond to these arguments and, in any event,

        fail to rebut them. See Response at 13-16.



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              First, as set forth in the defendants’ motion, plaintiffs cannot satisfy

        their burden to establish that they have suffered an injury-in-fact for Article

        III standing purposes. See Chambers Med. Techs. of S.C., Inc. v. Bryant, 52

        F.3d 1252, 1265 (4th Cir. 1995) (“The party seeking to establish standing

        carries the burden of demonstrating these elements.”). Under the Supreme

        Court’s decision in TransUnion LLC v. Ramirez, 594 U.S. 413, 424 (2021), an

        injury-in-fact must be “concrete.” And to be concrete, an injury-in-fact

        must have a “close relationship” to a “harm traditionally recognized as

        providing a basis for a lawsuit in American courts.” Id. at 417, 424. In this

        case, the sole harm relied upon by the district court in concluding that

        standard was met was plaintiffs’ intangible injury to their privacy interests,

        which the district court deemed sufficiently similar to the harm underlying

        the common law tort of intrusion upon seclusion. That conclusion was

        wrong for the reasons explained in the defendants’ motion, which plaintiffs

        fail to address.

              Plaintiffs claim they “have a strong privacy interest in records that

        would ordinarily be maintained in the seclusion of the home or other

        private space.” Response at 14. But plaintiffs do not dispute that they

        provided their information to the SSA on the understanding that the
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        information would be routinely used by agency employees and others

        within and outside the government to perform the types of activities that

        the DOGE team members plan to undertake. See Defendants’ Motion for

        Stay at 15-16. Therefore, they cannot show that disclosure of that

        information to SSA employees who are DOGE members would “be highly

        offensive to a reasonable person”—a necessary element of the common law

        tort of intrusion upon seclusion. Restatement (Second) of Torts § 652B

        (Am. Law Inst. 1977).

              Second, plaintiffs also fail to rebut the lack of any final agency action

        by the SSA that would be subject to APA review. Plaintiffs argue that there

        was final agency action because “DOGE team members requested full

        access to SSA’s Enterprise Data Warehouse, and SSA granted that access.”

        Response at 14. To the contrary, the Supreme Court has long made clear

        that the APA does not authorize “general judicial review of [an agency’s]

        day-to-day operations.” Lujan v. National Wildlife Fed’n, 497 U.S. 871, 899

        (1990); see also City of New York v. U.S. Dep’t of Def., 913 F.3d 423, 431 (4th

        Cir. 2019) (observing that courts “are woefully ill-suited … to adjudicate”

        “‘broad programmatic attack[s]’” “asking [the judiciary] to improve an

        agency’s performance or operations”). The SSA’s routine grant of access to
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        its information systems by SSA employees who are members of the DOGE

        team is precisely the sort of “day-to-day operation” of the agency that is

        not subject to APA review.

              Third, plaintiffs cannot show a violation of the Privacy Act, which

        expressly authorizes disclosure of agency records to “those officers and

        employees of the agency … who have a need for the record in the

        performance of their duties.” 5 U.S.C. § 552a(b)(1). As explained in detail

        by the SSA’s Acting Commissioner, the SSA DOGE team members “need”

        access to SSA information systems to perform their official duties. See Dkt.

        62-1 (Declaration of Leland Dudek); Dkt. 74-1 (Declaration of Leland

        Dudek). The record simply does not support plaintiffs’ contention that

        SSA DOGE members have no need to access SSA information systems to

        perform their job duties.

              B.   The Remaining Factors Favor a Stay

              The remaining factors—irreparable harm, the balance of harms, and

        the public interest—likewise favor the requested stay. As discussed above,

        the government has shown that the district court’s March 20 order, despite

        being temporary, nonetheless threatens irreparable harm to the

        government and the public, whose interests “merge” in this context, Nken

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        v. Holder, 556 U.S. 418, 435 (2009), absent an immediate stay. Although

        plaintiffs argue that the SSA DOGE team can accomplish their duties

        “using redacted or anonymized data,” Response at 16, as the district court’s

        March 20 order allows, the SSA’s Acting Commissioner has explained in

        detail why such restrictions in fact prevent them from performing their job

        duties, see Dkt. 62-1, Dkt. 74-1.

              By contrast, plaintiffs cannot show irreparable harm from the SSA’s

        intra-agency disclosure of information, where employees who view that

        information are subject to the same confidentiality obligations that apply to

        other similarly situated agency employees, as other courts addressing

        similar claims have held. See Defendants’ Motion at 28 (citing cases).

              Moreover, plaintiffs do not seriously contest that, if the government

        is likely to succeed on the merits of its appeal for any reason, the remaining

        stay factors are also met. While this Court’s review of the district court’s

        discretion in balancing of the harms is deferential, a district court

        necessarily “abuses its discretion when it … commits an error of law.”

        United States v. Dillard, 891 F.3d 151, 158 (4th Cir. 2018). As explained

        above, the district court committed errors of law in concluding that

        plaintiffs have even demonstrated a cognizable harm for purposes of
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        Article III standing, let alone a harm sufficient to demonstrate entitlement

        to injunctive relief. And as already explained, the district court also

        committed errors of law in subjecting the agency actions at issue here to

        APA review at all, let alone finding a violation of the law that would

        warrant enjoining important agency actions taken in furtherance of a

        Presidential policy directive.




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                                      CONCLUSION

              For these reasons and those explained in the government’s motion,

        this Court should stay the district court’s March 20, 2025, order pending

        appeal.

                                         Respectfully submitted,

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         MARCH 2025




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                            CERTIFICATE OF COMPLIANCE

              I hereby certify that this motion satisfies the type-volume

        requirements set out in Federal Rule of Appellate Procedure 27(d)(2)

        because it contains 1,822 words. This motion was prepared using

        Microsoft Word in Book Antiqua, 14-point font, a proportionally spaced

        typeface.



                                                     s/ Jacob Christensen
                                                    Jacob Christensen
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                                  CERTIFICATE OF SERVICE

              I hereby certify that on March 31, 2025, I electronically filed the

        foregoing with the Clerk of the Court by using the appellate CM/ECF

        system. Participants in the case are registered CM/ECF users and service

        will be accomplished by the appellate CM/ECF system.



                                                     s/ Jacob Christensen
                                                    Jacob Christensen
